       Case 2:19-cv-11202-EEF-KWR Document 25 Filed 03/17/20 Page 1 of 5




                              UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA

JONATHAN RAMOS                                                          CIVIL ACTION

VERSUS                                                                  NO. 2:19-cv-11202

IRON MOUNTAIN SECURE
SHREDDING, INC., IRON MOUNTAIN                                          JUDGE: FELDMAN
INFORMATION MANAGEMENT, INC.,
IRON MOUNTAIN INCORPORATED,                                             MAGISTRATE: WELLS
and IRON MOUNTAIN MANAGEMENT
SERVICES, INC.


                                PETITION OF INTERVENTION

        The Petition of Intervention Rackmasters, Inc. and Markel Insurance Company, with
respect, represents:


                                                    1.
        Plaintiff-in-Intervention, Rackmasters, Inc., a foreign corporation formed under the laws
of the State of California with its principal place of business located in the State of California, is a
corporation authorized to do and doing business within the State of California and within the
jurisdiction of this Honorable Court.


                                                    2.


        Plaintiff-in-Intervention, Markel Insurance Company, is a foreign corporation formed
under the laws of the State of Virginia with its principal place of business located in the State of
Virginia. Markel Insurance Company is an insurance company authorized to do and doing
business within the State of California and within the jurisdiction of this Honorable Court.




                                                   1
7825008v1
11928.024
       Case 2:19-cv-11202-EEF-KWR Document 25 Filed 03/17/20 Page 2 of 5




                                                   3.
        Plaintiff, Jonathan Ramos, is a person of the full age of majority and a resident, domiciliary,
and a citizen of the State of California, who at all times pertinent herein was employed by
Rackmasters, Inc.


                                                   4.
        Defendant, Iron Mountain Secure Shredding, Inc., is upon information and belief, a foreign
corporation formed under the laws of the State of Delaware and authorized to transact business in
the State of Louisiana.
                                                   5.
        Defendant, Iron Mountain Information Management, Inc., is upon information and belief,
a foreign corporation formed under the laws of the State of Delaware and authorized to transact
business in the State of Louisiana.


                                                  6.
        Defendant, Iron Mountain Incorporated, is upon information and belief, a foreign
corporation formed under the laws of the State of Delaware and authorized to transact business in
the State of Louisiana.


                                                  7.
        Defendant, Iron Mountain Management Services, Inc., is upon information and belief, a
foreign corporation formed under the laws of the State of Delaware and authorized to transact
business in the State of Louisiana.


                                                  8.
        For purposes of diversity jurisdiction under 28 U.S.C. §1332, Plaintiff-in-Intervention
Rackmasters, Inc., is a citizen of California; Plaintiff-in-Intervention Markel Insurance Company
is a citizen of the state of Virginia; and Defendants Iron Mountain Secure Shredding, Inc., Iron
Mountain Information Management, Inc., Iron Mountain Incorporated, and Iron Mountain
Management Services, Inc., are citizens of the State of Delaware. Therefore, complete diversity
of citizenship exists as to Plaintiffs-in-Intervention and Defendants.

                                                  2
7825008v1
11928.024
       Case 2:19-cv-11202-EEF-KWR Document 25 Filed 03/17/20 Page 3 of 5




                                                 9.
        Following the incident sued upon herein, Plaintiff Jonathan Ramos filed a claim for
workers’ compensation benefits in the State of California and has claimed compensation benefits
as a result of injuries sustained as a result of the actions of Defendants while acting in the course
and scope of his employment with Rackmasters, Inc.


                                                10.
        Markel Insurance Company, on behalf of Rackmasters, Inc., has paid to or on behalf of
Plaintiff weekly compensation benefits, medical expenses, and other expenses pursuant to the
California workers’ compensation laws. These amounts already paid for past medical and
indemnity benefits exceed $75,000.00, exclusive of costs and interest.


                                                11.
            Rackmasters, Inc., and Markel Insurance Company are entitled to intervene in these
proceedings and to recover by preference and priority the first monies received by the Plaintiff,
whether by way of judgement, settlement or otherwise, for the compensation, medical and other
expenses Plaintiffs-in-Intervention have paid or may be required to pay in the future, pursuant to
the provisions of California or other applicable workers’ compensation laws.


                                                12.
        Rackmasters, Inc., and Markel Insurance Company have a statutory right of intervention
under state substantive law, Cal. Labor Code §§ 3850-64.


                                                13.
        Rackmasters, Inc., and Markel Insurance Company have an interest relating to the recovery
of workers’ compensation benefits paid as the result of the negligence of a third party. Disposal of
the action without Plaintiffs-in-Intervention will impede their ability to recover workers’
compensation benefits paid. Further, Plaintiff and Defendants are not adequately representing
Plaintiffs-in-Intervention’s interest in recovering such workers’ compensation benefits paid.



                                                 3
7825008v1
11928.024
       Case 2:19-cv-11202-EEF-KWR Document 25 Filed 03/17/20 Page 4 of 5




Plaintiffs-in-Intervention therefore have an intervention of right pursuant to Federal Rule of Civil
Procedure 24(a).


                                                 14.
        Rackmasters, Inc., and Markel Insurance Company submit that there is complete diversity
and further submit that the amount in controversy exceeds $75,000.00; this Honorable Court is
therefore vested with independent subject matter jurisdiction over this Intervention pursuant to 28
U.S.C. §1332.


        WHEREFORE, Rackmasters, Inc., and Markel Insurance Company pray for recovery of
all sums which they have paid or may be liable to pay to Plaintiff Jonathan Ramos pursuant to the
California or other applicable workers’ compensation laws, payable by preference and priority out
of first monies received by Plaintiff in these proceedings, whether by way of judgement, settlement
or otherwise, and together with all costs, interest, and attorney fees, and for other such general and
equitable relief as this Honorable Court deems proper and is competent to grant.




                                       Respectfully submitted,

                                       /s/Beth S. Bernstein
                                       BETH S. BERNSTEIN              (Bar Roll No. 31412)
                                       MARNE A. JONES                 (Bar Roll No. 32522)
                                       Thompson, Coe, Cousins & Irons, LLP
                                       650 Poydras St., Ste. 2105
                                       New Orleans, LA 70130
                                       Tel. (504) 526-4350
                                       Fax. (504) 526-4310
                                       Attorneys for Plaintiffs-in-Intervention, RACKMASTERS,
                                       INC. and MARKEL INSURANCE COMPANY




                                                  4
7825008v1
11928.024
       Case 2:19-cv-11202-EEF-KWR Document 25 Filed 03/17/20 Page 5 of 5




                                 CERTIFICATE OF SERVICE

        I hereby certify that on March 16, 2020, I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system which will send a notice of electronic filing to all counsel

of record.

                                      /s/Beth S. Bernstein




                                                 5
7825008v1
11928.024
